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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 CLAUDE N. LEWIS,

                    Plaintiff,

         v.                                                      Index No. 14-cv-02302 (CRK)
                                                                 ECF Case
 AMERICAN SUGAR REFINING, INC. and
 MEHANDRA RAMPHAL,

                    Defendants.



                                       PRETRIAL ORDER

       The court held a pretrial conference in this action on Monday, March 19, 2018, during

which the court discussed with counsel their objections to the trial exhibits and opposing counsel’s

responses to those objections. See Proposed Joint Pretrial Order at 23–36, Nov. 7, 2017, ECF No.

94; Supplemental Responses to Proposed Joint Pretrial Order, Jan. 29, 2018, ECF No. 114.

       For one set of objections, the court directed the Plaintiff to explain how it planned to

authenticate exhibits PX-1, PX-2, PX-3, PX-4, PX-5, PX-7, PX-21, and PX-22 (“the Contested

Exhibits”), which are all documents which Plaintiff claims are Plaintiff’s grievances sent to, and

received by, the Defendant American Sugar Refining, Inc. (“ASR”). See Court’s Letter, Mar. 19,

2018, ECF No. 130; Pl.’s Letter, Mar. 22, 2018, ECF No. 138 (“Pl.’s Letter”); Defs.’ Letter, Mar.

22, 2018, ECF No. 139 (“Defs.’ Letter”). Defendants challenge the authentication of these

documents on the grounds that Defendants have no record of receiving them prior to discovery in

this action. Defs.’ Letter at 1. Pursuant to Rule 901 of the Federal Rules of Evidence, “the

requirement of authentication or identification as a condition precedent to admissibility is satisfied

by evidence sufficient to support a finding that the matter in question is what its proponent claims.”
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FED. R. EVID. 901. The contested exhibits are grievances purportedly prepared by the Plaintiff

complaining of the treatment he received at work. In this context, a grievance is more than

memorialization of a complaint; it is a memorialization of a complaint that is presented to the

company. See JX-7 (2011 Collective Bargaining Agreement) at ASR 000018–20 (Article 9,

“Grievance Procedure,” providing that “[a]ll grievances relating to the application or interpretation

of [the Collective Bargaining] Agreement must be presented to [ASR] within ten (10) days after

being brought to the union’s attention”; “[i]t is the agreed policy of [ASR] and the Union to settle

promptly all such grievances in an amicable manner. . .”); JX-8 (2005 Collective Bargaining

Agreement) at P00020–21 (Article 9, same); see also Grievance, Merriam-Webster.com,

https://www.merriam-webster.com/dictionary/grievance (last visited Mar. 25, 2018) (Grievance:

3: “the formal expression of a grievance: complaint.”). Therefore, Plaintiff must offer evidence

sufficient to show that these complaints were sent to the Defendant in a manner reasonably

designed to be received by the Defendant.

       Plaintiff states that, in order to authenticate the contested exhibits, Plaintiff will testify “that

each Contested Exhibit represents his own grievance or complaint regarding his treatment while

employed at Defendant ASR, that he took additional steps to submit them, and maintained copies

of each Contested Exhibit for his records.” Pl.’s Letter at 3. Defendant has pointed to deposition

testimony indicating that Plaintiff will not be able to provide sufficient evidence to demonstrate

that these exhibits were sent to Defendants, let alone received. Defs.’ Letter at 1–2. Plaintiff states

that “whether or not Defendant ASR received any of the Contested Exhibits is irrelevant to the

issue of whether or not they can be authenticated,” and concedes that “receipt of the Contested

Exhibits goes towards the exhibits’ relevance.” Pl.’s Letter at 3. The Plaintiff is correct. However

the court is not prepared at this point to admit what might be irrelevant exhibits simply because
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they can be authenticated. Therefore, the Contested Exhibits are inadmissible unless and until the

Plaintiff can authenticate them as having been sent to the Defendant in a manner reasonably

designed to be received by the Defendant or demonstrate their relevance regardless of whether

they were sent to the Defendant.

       The court now provides rulings on the admissibility of the exhibits at trial. Unless

otherwise ordered by the court, whenever an admissible exhibit is first mentioned by counsel

during the examination of a witness at trial, the exhibit shall be deemed to be admitted into

evidence unless opposing counsel then asserts an objection to it. This Pretrial Order, including all

attached schedules, will control the course of this action unless modified by subsequent order of

the court. In accordance with the foregoing, it is

       ORDERED that the Proposed Joint Pretrial Order (establishing the basis for jurisdiction,

nature of the case, request for jury trial, stipulated facts, parties’ contentions, issues and claims to

be tried, schedule of joint exhibits, Plaintiff’s schedule of exhibits, Defendants’ schedule of

exhibits, stipulations and objections to those exhibits, Plaintiff’s witness list, Defendants’

objections to Plaintiff’s witnesses, Defendants’ objections to Plaintiff’s deposition testimony,

Defendants’ witness list, and relief sought), Nov. 7, 2017, ECF No. 94, attached to this order as

Schedule A, is adopted in part. Plaintiff’s witness list and proposed deposition testimony are

modified by the court’s decision on the parties’ motions in limine, see Mem. and Order, March 26,

2018, and the parties’ exhibit lists are modified by the below rulings in this order; and it is further

       ORDERED that the exhibits set forth in attached Schedule B, which were not objected to

in the Proposed Joint Pretrial Order, are admissible, subject to relevance and laying a proper

foundation prior to introduction; and it is further
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          ORDERED that the exhibit set forth in attached Schedule C, the objection to which has

been withdrawn, is admissible, subject to relevance and laying a proper foundation prior to

introduction; and it is further

          ORDERED that the exhibits set forth in attached Schedule D, for which the court

overruled objections, are admissible, subject to relevance and laying a proper foundation prior to

introduction; and it is further

          ORDERED that the exhibits set forth in attached Schedule E, to which Defendants object

on the basis of authentication, are inadmissible unless and until Plaintiff can authenticate them,

and subject to relevance and laying a proper foundation prior to introduction; and it is further

          ORDERED that the exhibits set forth in attached Schedule F are admissible for the limited

purpose of demonstrating that an EEOC complaint was filed, subject to relevance and laying a

proper foundation prior to introduction, and are not admissible for any other purpose; and it is

further

          ORDERED that the exhibits set forth in attached Schedule G are marked for identification

only; and it is further

          ORDERED that the exhibits set forth in attached Schedule H are inadmissible; and it is

further

          ORDERED that the exhibits set forth in attached Schedule I have been withdrawn.




                                                              /s/ Claire R. Kelly
                                                              Claire R. Kelly, Judge


Dated: March 26, 2018
       New York, New York
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                          SCHEDULE A
                    Proposed Joint Pretrial Order
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------x
 CLAUDE LEWIS,

                          Plaintiff,                           Civ. No.: 14-CV-2302 (CRK)(KNF)

                               - v. -                            PROPOSED
                                                                 JOINT PRETRIAL ORDER

AMERICAN SUGAR REFINING, INC.,
and MEHANDRA RAMPHAL,

                          Defendants.

-----------------------------------------------------------x

        The parties having conferred among themselves and with the Court pursuant to Federal

Rule of Civil Procedure 16, the following statements, directions, and agreements are adopted as

the Pretrial Order herein.

I.      NATURE OF THE CASE

        This is a civil matter in which Plaintiff, Claude Lewis (hereinafter “Plaintiff”), alleges the

Defendants American Sugar Refining, Inc. (hereinafter “Defendant ASR”) and Mehandra

Ramphal (hereinafter “Defendant Ramphal” and collectively with Defendant ASR hereinafter the

“Defendants”) violated Plaintiff’s statutory rights as guaranteed by Title VII of the Civil Rights

Act of 1964 (“Title VII”) and the New York State Human Rights Law (“SHRL”) by means of

unlawful race and/or national origin discrimination and retaliation based upon Plaintiff’s alleged

lawful complaints. Plaintiff notes that his previously asserted claims against Defendants pursuant

to the New York City Human Rights Law have been withdrawn by stipulation. Plaintiff alleges

that Defendants engaged in an ongoing pattern and practice or discrimination by way of, among

other things, subjecting Plaintiff to a hostile work environment, constructively demoting Plaintiff,

precluding Plaintiff from lucrative overtime opportunities, and retaliating against Plaintiff after he

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complained to ASR’s supervisory and human recourses personnel about discrimination and

harassment.

       Defendants wholly deny the allegations of Plaintiff’s Complaint, including any and all

allegations that Defendants engaged in discrimination, harassment or retaliation against Plaintiff

in violation of Title VII and/or SHRL. Defendants contend that they never discriminated, harassed

or retaliated against Plaintiff. Defendants contend that Plaintiff voluntarily changed positions

internally at ASR, and therefore, no adverse employment action was taken against Plaintiff.

Defendants further submit that Plaintiff failed to avail himself of any of ASR’s known policies or

procedures for reporting harassment and/or discrimination, and never once made a complaint based

on race or national origin. Lastly, Plaintiff’s claims arising prior to May 2012 are barred by the

statute of limitations. Defendants seek the dismissal of all claims with prejudice.


II.    JURY/NON-JURY

       Plaintiff requested a trial by jury in his pleadings and this case is to be tried before a jury.

Plaintiff estimates 5-7 days of trial will be needed. Defendants estimate 7-9 days of trial will be

needed.




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III.      STIPULATED FACTS12

       A. The Parties

       1. ASR produces refined and specialty sugar products in the United States through a process

          wherein raw sugar is received, unloaded, and processed into different finished products.

       2. ASR has a facility located in Yonkers, New York.

       3. The Yonkers, New York facility of ASR is comprised of the following departments:

          Process, Engineering/Maintenance, Quality Assurance/Technical, Warehouse/Shipping,

          Sanitation, and Human Resources.

       4. Claude Lewis (“Plaintiff” or “Lewis”) became first employed by ASR in 1988 as a

          temporary Sugar Stacker in Yonkers, New York.

       5. Plaintiff held a number of different positions at ASR from 1998 to 2011, including

          Technician 2, Wash Station Operator, Relief Operator, Process Relief Operator, Remelt

          Operator, Warehouse, Sanitation, and Storeroom Assistant in the Engineering Department.

       6. During the entire course of Lewis’ employment, ASR was a union shop governed by

          collective bargaining agreements (“CBA”).

       7. At all times, Plaintiff was a member of the union.

       B. The Collective Bargaining Agreement

       8. The CBA governed seniority, shifts, overtime, grievances, wages, discipline, among other

          terms and conditions of employment.


1
  Defendants plan to file a motion in limine regarding Plaintiff’s refusal to stipulate to certain facts that were already
admitted by Plaintiff in Plaintiff’s Counter-Statement of Material Facts. Plaintiff is taking the position that he is
entitled to exclude stipulated facts in this section based on relevance. Defendants submit that relevance is not an issue
in this section, rather this section provides for stipulated facts, which facts’ relevance is to be determined later.
2
  Plaintiff plans to file a motion in limine regarding Defendants' insistence that certain of these facts be included in
the "stipulated facts" section of this pretrial order, to wit, Sections B, D, E and F below. While these are true facts
they are irrelevant and the factfinder should not be privy to these irrelevant facts. Plaintiffs' submit that relevance is
an issue in this section.

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9. Generally, pursuant to the discipline provisions of the CBA, an employee is given a verbal

   warning for the first offense, a written warning for the second offense, a three-day

   suspension for the third offense, and a five-day suspension for the fourth offense.

10. After one five-day suspension, ASR is within its rights to terminate the employee under

   the CBA.

11. Certain infractions such as a “no-call/no-show” or a safety breach result in discipline in the

   form of an automatic suspension.

12. After fifteen (15) months, the disciplinary scale resets, and the employee starts from the

   beginning at the verbal warning stage.

C. Timeline of Plaintiff’s Employment

13. On June 27, 2011, Plaintiff voluntarily requested a “bid out” (a bid out equates to a

   voluntary transfer to an open job based on seniority pursuant to the CBA) from a Process

   Relief Operator to a Remelt Operator (also known as a “Centrifugal Operator”).

14. On October 18, 2012, Plaintiff submitted a job change application voluntarily requesting a

   change from the Remelt Operator position to a position in the Warehouse Department

   loading trucks.

15. Plaintiff made no claims on this application or otherwise of discrimination, harassment or

   hostile work environment.

16. Ramphal never issued Plaintiff a disciplinary notice during the time he supervised him

   from June 30, 2011 to November 29, 2012.

17. On November 29, 2012, ASR granted Plaintiff’s request and transferred him to the

   Warehouse Department, which transfer was effective April 15, 2013.

18. Plaintiff’s new supervisor in the Warehouse Department was Jeff Bogdan.



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19. Plaintiff was employed in the Sanitation Department from December 10, 2013 to March

   16, 2016.

20. On March 14, 2016, Plaintiff requested to “bid out” of the Sanitation Department and into

   the Storeroom

21. On March 16, 2016, ASR granted Plaintiff’s request, and he has worked in the Storeroom

   from that date to the present.

D. ASR Policies and Procedures

22. ASR maintains an Employee Handbook (“ASR Employee Handbook”), which contains

   ASR’s general work rules and policies.

23. Plaintiff received the ASR Employee Handbook, and signed the form acknowledging that

   he received a copy, read, and understood it.

24. ASR’s Employee Handbook has an anti-discrimination provision and an anti-harassment

   provision.

25. Plaintiff was aware that ASR had a policy and procedure in place, as well as a Code of

   Conduct, to prevent discrimination and harassment.

26. Plaintiff acknowledged ASR’s Code of Ethics and Business Conduct on February 26, 2010

   and February 1, 2013.

27. Plaintiff acknowledged that he had received and read ASR’s Code of Ethics and Business

   Conduct.

28. ASR’s Code of Ethics and Business Conduct has an anti-discrimination provision and an

   anti-harassment provision.

29. Local 74 permits the filing of grievances for perceived race discrimination, harassment or

   retaliation.



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30. Plaintiff filed an EEOC Charge on March 14, 2013.

E. Plaintiff’s Disciplinary History

31. Plaintiff received a Notice of Violation of Rules on July 14, 1988 for “poor job

   performance” for leaving a valve open, resulting in a “large amount of sugar loss.” Plaintiff

   was given a written warning as a consequence of this disciplinary notice.

32. Plaintiff received a Notice of Violation of Rules on August 18, 1990 for “poor job

   performance” for being off the job and in the cafeteria instead of performing his job duties.

   Plaintiff was given a verbal warning as a consequence of this disciplinary notice. The notice

   was written by Michael Marcano, who supervised Lewis at the time.

33. Plaintiff received a Notice of Violation of Rules on January 17, 1991 for “poor job

   performance” and “neglect of duty” causing the furnace to shut down. Plaintiff was given

   a written warning as a consequence of this disciplinary notice. The notice was written by

   Supervisor Michael Marcano.

34. Plaintiff received a Notice of Violation of Rules on September 23, 1994 for a “no call, no

   show” for failing to show up for a shift and failing to notify any supervisors or superiors at

   ASR. Plaintiff was given a verbal warning as a consequence of this disciplinary notice. The

   notice was written by Supervisor/Foreman James Wallace.

35. Plaintiff received a Notice of Violation of Rules on August 1, 1997 for “insubordination”

   for calling in sick after his Supervisor, James Wallace, told him he could not have the day

   off. Plaintiff was given a verbal warning as a consequence of this disciplinary notice.

36. Plaintiff received a disciplinary letter on August 19, 1997 for “disappearing” for over an

   hour; then, after he was found, disappearing again for another hour. Plaintiff was suspended




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   from the rest of his shift as a consequence of this letter. This letter was written to then head

   of HR, Don Brainard.

37. Lewis received a Notice of Violation of Rules on January 13, 1998 for “sleeping on the

   job.” Plaintiff was given a written warning as a consequence of this disciplinary notice.

   The disciplinary notice was written by Foreman Joe Gerrardi.

38. Lewis received a Notice of Violation of Rules on April 2, 2002 for “poor job performance”

   for failing to close a sugar valve, resulting in out of specification product. Plaintiff was

   given a verbal warning as a consequence of this disciplinary notice. The disciplinary notice

   was written by Foreman/Supervisor James Wallace.

39. Plaintiff received a Notice of Violation of Rules on October 28, 2005 for “poor job

   performance” for “lack of action resulting in [the] reprocessing of 250,000 pounds of sugar

   and six hours of downtime” — costing ASR $130,000. Plaintiff was given a five-day

   suspension as a consequence of this disciplinary notice. The disciplinary notice was written

   by Foreman/Supervisor Dominick Tursi.

40. Plaintiff received a Notice of Violation of Rules on June 29, 2012 for “poor job

   performance” for failing to follow a direct order from a supervisor. Plaintiff was given a

   verbal warning as a consequence of this disciplinary notice. The disciplinary notice was

   written by Superintendents Joe Fornabio and Elizabeth Mendonca.

41. Plaintiff received a Notice of Violation of Rules on January 3, 2013 for a “no call/no show.”

   Plaintiff was given a three-day suspension as a consequence of this disciplinary notice. The

   disciplinary notice was written by Superintendent Elizabeth Mendonca.

42. Plaintiff received a Notice of Violation of Rules on October 14, 2013 for loading “two

   pallets of wrong product on a truck.” As a result, the customer “rejected and returned” the



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         product. Plaintiff was given a five-day suspension as a consequence of this disciplinary

         notice.

      43. Supervisors at ASR are permitted to adjust the settings on machines to ensure the product

         is according to specification.

      F. Plaintiff’s Grievance History

      44. Plaintiff was aware of the CBA’s grievance procedure and availed himself of the union’s

         grievance process throughout his tenure at ASR.

      45. Plaintiff submitted a grievance on December 22, 2008.

      46. Plaintiff submitted a grievance on March 16, 2013

      47. Plaintiff submitted a grievance on March 17, 2013.

      48. Plaintiff submitted a grievance on February 24, 2016.

IV.      PARTIES’ CONTENTIONS

         The pleadings are deemed to embrace the following, and only the following contentions of

the parties:

Plaintiff’s Contentions: Plaintiff’s allegations and contentions in this matter are as follows:


      1. Defendants engaged in discriminatory and disparate treatment in violation of Title VII and

         the SHRL by virtue of their failure to offer Plaintiff overtime opportunities on the basis of

         his race and/or national origin.

               a. Witnesses: Claude Lewis, Mehandra Ramphal, Deborah Lafaro, Robert Jandovich,

                   Fred Gaffney, Fred Pannicia, Adolph McBean, Elizabeth Mendonca.

               b. Exhibits: JX-7 (Collective Bargaining Agreement 2011); JX-8 (Collective

                   Bargaining Agreement 2005); JX-9 (ASR Employee Handbook); JX-10 (Code of

                   Ethics and Business Conduct); JX-2 - JX-6, JX-14, JX-23, JX-25, PX-11 (Notices

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           of Violations; Disciplinary Notices); JX-1, JX-12, JX-13, JX-20, JX-23, JX-26,

           PX-1-PX-5, PX-7, PX-8, PX-10, PX-20 - PX-22 (Grievances and Responses); JX-

           24, PX-9, PX-16, PX-19 (EEOC Submissions); PX-14 (Fred Gaffney Declaration);

           PX-32 (Fred Panniccia Affidavit).

2. Defendants engaged in discriminatory and disparate treatment in violation of Title VII and

   the SHRL by virtue of constructively demoting Plaintiff to a lower-paying position on the

   basis of his race and/or national origin.

       a. Witnesses: Claude Lewis, Mehandra Ramphal, Deborah Lafaro, Robert Jandovich,

           Fred Gaffney, Fred Pannicia, Adolph McBean, Elizabeth Mendonca.

       b. Exhibits: JX-7 (Collective Bargaining Agreement 2011); JX-8 (Collective

           Bargaining Agreement 2005); JX-9 (ASR Employee Handbook); JX-10 (Code of

           Ethics and Business Conduct); JX-2 - JX-6, JX-14, JX-23, JX-25, PX-11 (Notices

           of Violations; Disciplinary Notices); JX-1, JX-12, JX-13, JX-20, JX-23, JX-26,

           PX-1-PX-5, PX-7, PX-8, PX-10, PX-20 - PX-22 (Grievances and Responses); JX-

           24, PX-9, PX-16, PX-19 (EEOC Submissions); PX-14 (Fred Gaffney Declaration);

           PX-32 (Fred Panniccia Affidavit).

3. Defendants engaged in discriminatory and disparate treatment in violation of Title VII and

   the SHRL by virtue of subjecting Plaintiff to disparate and unequal treatment and discipline

   as compared to his non-African American co-workers on the basis of his race and/or

   national origin.

       a. Witnesses: Claude Lewis, Mehandra Ramphal, Deborah Lafaro, Robert Jandovich,

           Fred Gaffney, Fred Pannicia, Adolph McBean, Elizabeth Mendonca, Lucious

           Green, Bobsy Monroe, Darius Schullere, Joseph Fornabio.



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       b. Exhibits: JX-7 (Collective Bargaining Agreement 2011); JX-8 (Collective

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           Ethics and Business Conduct); JX-2 - JX-6, JX-14, JX-23, JX-25, PX-11 (Notices

           of Violations; Disciplinary Notices); JX-1, JX-12, JX-13, JX-20, JX-23, JX-26,

           PX-1-PX-5, PX-7, PX-8, PX-10, PX-20 - PX-22 (Grievances and Responses); JX-

           24, PX-9, PX-16, PX-19 (EEOC Submissions); PX-14 (Fred Gaffney Declaration);

           PX-32 (Fred Panniccia Affidavit); JX-18 – JX-19, JX-28 – JX-32 (Notice of Job

           Change).

4. Defendants engaged in discriminatory and disparate treatment in violation of Title VII and

   the SHRL by virtue of their failure to offer Plaintiff overtime opportunities on the basis of

   his race and/or national origin.

       a. Witnesses: Claude Lewis, Mehandra Ramphal, Deborah Lafaro, Robert Jandovich,

           Fred Gaffney, Fred Pannicia, Adolph McBean, Elizabeth Mendonca.

       b. Exhibits: JX-7 (Collective Bargaining Agreement 2011); JX-8 (Collective

           Bargaining Agreement 2005); JX-9 (ASR Employee Handbook); JX-10 (Code of

           Ethics and Business Conduct); JX-2 - JX-6, JX-14, JX-23, JX-25, PX-11 (Notices

           of Violations; Disciplinary Notices); JX-1, JX-12, JX-13, JX-20, JX-23, JX-26,

           PX-1-PX-5, PX-7, PX-8, PX-10, PX-20 - PX-22 (Grievances and Responses); JX-

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           PX-32 (Fred Panniccia Affidavit); JX-18 – JX-19, JX-28 – JX-32 (Notice of Job

           Change).




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5. Defendants subjected Plaintiff to a hostile work environment on the basis of his race and/or

   national origin that was severe or pervasive enough to alter the terms and conditions of his

   employment for the worse in violation of Title VII and the SHRL.

       a. Witnesses: Claude Lewis, Mehandra Ramphal, Deborah Lafaro, Robert Jandovich,

           Fred Gaffney, Fred Pannicia, Adolph McBean, Elizabeth Mendonca, Lucious

           Green, Bobsy Monroe, Darius Schullere, Joseph Fornabio.

       b. Exhibits: JX-7 (Collective Bargaining Agreement 2011); JX-8 (Collective

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           of Violations; Disciplinary Notices); JX-1, JX-12, JX-13, JX-20, JX-23, JX-26,

           PX-1-PX-5, PX-7, PX-8, PX-10, PX-20 - PX-22 (Grievances and Responses); JX-

           24, PX-9, PX-16, PX019 (EEOC Submissions); PX-14 (Fred Gaffney Declaration);

           PX-32 (Fred Panniccia Affidavit); JX-18 – JX-19, JX-28 – JX-32 (Notice of Job

           Change).

6. Plaintiff was subjected to numerous adverse employment actions.

       a. Witnesses: Claude Lewis, Mehandra Ramphal, Deborah Lafaro, Robert Jandovich,

           Fred Gaffney, Fred Pannicia, Adolph McBean, Elizabeth Mendonca, Lucious

           Green, Bobsy Monroe, Darius Schullere, Joseph Fornabio.

       b. Exhibits: JX-7 (Collective Bargaining Agreement 2011); JX-8 (Collective

           Bargaining Agreement 2005); JX-9 (ASR Employee Handbook); JX-10 (Code of

           Ethics and Business Conduct); JX-2 - JX-6, JX-14, JX-23, JX-25, PX-11 (Notices

           of Violations; Disciplinary Notices); JX-1, JX-12, JX-13, JX-20, JX-23, JX-26,

           PX-1-PX-5, PX-7, PX-8, PX-10, PX-20 - PX-22 (Grievances and Responses); JX-



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          24, PX-9, PX-16, PX-19 (EEOC Submissions); PX-14 (Fred Gaffney Declaration);

          PX-32 (Fred Panniccia Affidavit); JX-18 – JX-19, JX-28 – JX-32 (Notice of Job

          Change).

7. Plaintiff was improperly precluded from overtime opportunities on the basis of his race

   and/or national origin, and complaints of discrimination.

       a. Witnesses: Claude Lewis, Mehandra Ramphal, Deborah Lafaro, Robert Jandovich,

          Fred Gaffney, Fred Pannicia, Adolph McBean, Elizabeth Mendonca.

       b. Exhibits: JX-7 (Collective Bargaining Agreement 2011); JX-8 (Collective

          Bargaining Agreement 2005); JX-9 (ASR Employee Handbook); JX-10 (Code of

          Ethics and Business Conduct); JX-1, JX-12, JX-13, JX-20, JX-23, JX-26, PX-1-

          PX-5, PX-7, PX-8, PX-10, PX-20 - PX-22 (Grievances and Responses); JX-24,

          PX-9, PX-16, PX-19 (EEOC Submissions); PX-14 (Fred Gaffney Declaration);

          PX-32 (Fred Panniccia Affidavit).

8. Plaintiff reported the harassment and discrimination to his supervisors, his union, and

   Defendant ASR’s Human Resources Department.

       a. Witnesses: Claude Lewis, Mehandra Ramphal, Deborah Lafaro, Robert Jandovich,

          Fred Gaffney, Fred Pannicia, Adolph McBean, Elizabeth Mendonca.

       b. Exhibits: JX-7 (Collective Bargaining Agreement 2011); JX-8 (Collective

          Bargaining Agreement 2005); JX-9 (ASR Employee Handbook); JX-10 (Code of

          Ethics and Business Conduct); JX-1, JX-12, JX-13, JX-20, JX-23, JX-26, PX-1-

          PX-5, PX-7, PX-8, PX-10, PX-20 - PX-22 (Grievances and Responses); JX-24,

          PX-9, PX-16, PX-19 (EEOC Submissions); PX-14 (Fred Gaffney Declaration);

          PX-32 (Fred Panniccia Affidavit).



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9. Defendants ignored or otherwise rejected Plaintiff’s complaints of discrimination and

   harassment.

       a. Witnesses: Claude Lewis, Mehandra Ramphal, Deborah Lafaro, Robert Jandovich,

           Fred Gaffney, Fred Pannicia, Adolph McBean, Elizabeth Mendonca.

       b. Exhibits: JX-7 (Collective Bargaining Agreement 2011); JX-8 (Collective

           Bargaining Agreement 2005); JX-9 (ASR Employee Handbook); JX-10 (Code of

           Ethics and Business Conduct); JX-1, JX-12, JX-13, JX-20, JX-23, JX-26, PX-1-

           PX-5, PX-7, PX-8, PX-10, PX-20 - PX-22 (Grievances and Responses); JX-24,

           PX-9, PX-16, PX-19 (EEOC Submissions); PX-14 (Fred Gaffney Declaration);

           PX-32 (Fred Panniccia Affidavit).

10. Defendants retaliated against Plaintiff for his lawful complaints of discrimination to his

   supervisor(s), union, and ASR’s Human Resources Department.

       a. Witnesses: Claude Lewis, Mehandra Ramphal, Deborah Lafaro, Robert Jandovich,

           Fred Gaffney, Fred Pannicia, Adolph McBean, Elizabeth Mendonca.

       b. Exhibits: JX-7 (Collective Bargaining Agreement 2011); JX-8 (Collective

           Bargaining Agreement 2005); JX-9 (ASR Employee Handbook); JX-10 (Code of

           Ethics and Business Conduct); JX-1, JX-12, JX-13, JX-20, JX-23, JX-26, PX-1-

           PX-5, PX-7, PX-8, PX-10, PX-20 - PX-22 (Grievances and Responses); JX-2 - JX-

           6, JX-14, JX-23, JX-25, PX-11 (Notices of Violations; Disciplinary Notices); JX-

           24, PX-9, PX-16, PX-19 (EEOC Submissions); PX-14 (Fred Gaffney Declaration);

           PX-32 (Fred Panniccia Affidavit); JX-18 – JX-19, JX-28 – JX-32 (Notice of Job

           Change and Employee Status Notices).




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Defendants’ Contentions:

   1. Defendants did not engage in discriminatory and/or disparate treatment on the basis of race

      and/or national origin in violation of Title VII and the SHRL.

          a. Witnesses: Claude Lewis, Bobsie Monroe, Elizabeth Mendonca, Debbie Troche,

              Bob Jandovitz, Adolph McBean, Ray Grossi, Sean Norwood, Kevin Parnell, and

              Mehandra Ramphal

          b. Exhibits: JX-9 (ASR Employee Handbook), JX-7-JX-8 (Collective Bargaining

              Agreement), JX-10 (Code of Ethics and Business Conduct), JX-2 - JX-6; JX-14;

              JX-25; DX- 4-11; DX-64 (Notices of Violation, Disciplinary Notices), JX-12-JX-

              13; JX-20; JX-26; DX-12-DX-29; DX-66-DX-67 (Grievances and Responses),

              DX-39 – DX-49 (Loading Error Documents)

   2. Defendants’ actions were a legitimate exercise of reasonable business judgment.

          a. Witnesses: Bob Jandovitz, Debbie Troche, Elizabeth Mendonca, and Mehandra

              Ramphal

          b. Exhibits: JX-9 (ASR Employee Handbook), JX-7 (Collective Bargaining

              Agreement), JX-10 (Code of Ethics and Business Conduct), JX-2 - JX-6; JX-14;

              JX-25; DX- 4-11; DX-64 (Notices of Violation, Disciplinary Notices), JX-12-JX-

              13; JX-20; JX-26; DX-12-DX-29; DX-66-DX-67 (Grievances and Responses),

              DX-39 – DX-49 (Loading Error Documents)

   3. Plaintiff did not suffer any adverse employment action.

          a. Witnesses: Claude Lewis, Mehandra Ramphal, Elizabeth Mendonca, Debbie

              Troche, and Bob Jandovitz




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       b. Exhibits: JX-9 (ASR Employee Handbook), JX-7 (Collective Bargaining

           Agreement), JX-10 (Code of Ethics and Business Conduct), JX-2 - JX-6; JX-14;

           JX-25; DX- 4-11; DX-64 (Notices of Violation, Disciplinary Notices), JX-12-JX-

           13; JX-20; JX-26; DX-12-DX-29; DX-66-DX-67 (Grievances and Responses),

           DX-39 – DX-49 (Loading Error Documents)

4. Plaintiff was offered overtime opportunities pursuant to a CBA and seniority and was never

   discriminated against in terms of the assignment of overtime.

       a. Witnesses: Mehandra Ramphal, Elizabeth Mendonca, Debbie Troche, Bob

           Jandovitz

       b. Exhibits: JX-7 (Collective Bargaining Agreement), JX-12-JX-13; JX-20; JX-26;

           DX-12-DX-29; DX-66-DX-67 (Grievances and Responses)

5. Plaintiff was subjected to proper discipline pursuant to the Employee Handbook and/or the

   Collective Bargaining Agreement when he violated ASR’s rules.

       a. Witnesses: Elizabeth Mendonca, Debbie Troche and Bob Jandovitz

       b. Exhibits: JX-9 (ASR Employee Handbook), JX-7 (Collective Bargaining

           Agreement), JX-10 (Code of Ethics and Business Conduct), JX-2 - JX-6; JX-14;

           JX-25; DX- 4-11; DX-64 (Notices of Violation, Disciplinary Notices), JX-12-JX-

           13; JX-20; JX-26; DX-12-DX-29; DX-66-DX-67 (Grievances and Responses),

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6. Plaintiff was never subjected to a hostile work environment on the basis of his race and/or

   national origin.




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       a. Witnesses: Claude Lewis, Bobsie Monroe, Elizabeth Mendonca, Debbie Troche,

          Bob Jandovitz, Adolph McBean, Ray Grossi, Sean Norwood, Kevin Parnell and

          Mehandra Ramphal

       b. Exhibits: JX-9 (ASR Employee Handbook), JX-7 (Collective Bargaining

          Agreement), JX-10 (Code of Ethics and Business Conduct), JX-2 - JX-6; JX-14;

          JX-25; DX- 4-11; DX-64 (Notices of Violation, Disciplinary Notices), JX-12-JX-

          13; JX-20; JX-26; DX-12-DX-29; DX-66-DX-67 (Grievances and Responses),

          DX-39 – DX-49 (Loading Error Documents)

7. Plaintiff was not subject to severe or pervasive actions on the behalf of the Defendants

   which altered Plaintiff’s conditions of employment and/or created an abusive work

   environment.

       a. Witnesses: Bobsie Monroe, Elizabeth Mendonca, Debbie Troche, Adolph McBean,

          Ray Grossi, Sean Norwood, Kevin Parnell and Mehandra Ramphal

       b. Exhibits: JX-9 (ASR Employee Handbook), JX-7 (Collective Bargaining

          Agreement), JX-10 (Code of Ethics and Business Conduct), JX-2 - JX-6; JX-14;

          JX-25; DX- 4-11; DX-64 (Notices of Violation, Disciplinary Notices), JX-12-JX-

          13; JX-20; JX-26; DX-12-DX-29; DX-66-DX-67 (Grievances and Responses),

          DX-39 – DX-49 (Loading Error Documents)

8. Plaintiff was not subject to adverse employment actions which altered the terms and/or

   conditions of Plaintiff’s employment.

       a. Witnesses: Claude Lewis, Bobsie Monroe, Elizabeth Mendonca, Debbie Troche,

          Bob Jandovitz, Adolph McBean, Ray Grossi, Sean Norwood, Kevin Parnell, and

          Mehandra Ramphal



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       b. Exhibits: JX-9 (ASR Employee Handbook), JX-7 (Collective Bargaining

           Agreement), JX-10 (Code of Ethics and Business Conduct), JX-2 - JX-6; JX-14;

           JX-25; DX- 4-11; DX-64 (Notices of Violation, Disciplinary Notices), JX-12-JX-

           13; JX-20; JX-26; DX-12-DX-29; DX-66-DX-67 (Grievances and Responses),

           DX-39 – DX-49 (Loading Error Documents), JX-17 (October 18, 2012 Job Change

           Application)

9. Plaintiff failed to report and/or make any complaints regarding perceived race and/or

   national origin discrimination.

       a. Witnesses: Bob Jandovitz, Debbie Troche, Elizabeth Mendonca and Mehandra

           Ramphal

       b. Exhibits: JX-9 (ASR Employee Handbook), JX-7 (Collective Bargaining

           Agreement), JX-10 (Code of Ethics and Business Conduct), JX-12-JX-13; JX-20;

           JX-26; DX-12-DX-29; DX-66-DX-67 (Grievances and Responses)

10. Defendants had no notice or knowledge of Plaintiff’s perceived complaints regarding

   perceived race and/or national origin discrimination.

       a. Witnesses: Bob Jandovitz, Debbie Troche, Elizabeth Mendonca and Mehandra

           Ramphal

       b. Exhibits: JX-9 (ASR Employee Handbook), JX-7 (Collective Bargaining

           Agreement), JX-10 (Code of Ethics and Business Conduct), JX-12-JX-13; JX-20;

           JX-26; DX-12-DX-29; DX-66-DX-67 (Grievances and Responses)

11. ASR did not retaliate against Plaintiff in any way, shape or form.

       a. Witnesses: Claude Lewis, Bob Jandovitz, Debbie Troche, Elizabeth Mendonca and

           Mehandra Ramphal



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       b. Exhibits: JX-2 - JX-6; JX-14; JX-25; DX- 4-11; DX-64 (Notices of Violation,

           Disciplinary Notices), JX-12-JX-13; JX-20; JX-26; DX-12-DX-29; DX-66-DX-67

           (Grievances and Responses), DX-39 – DX-49 (Loading Error Documents)

12. Defendants’ followed and enforced their anti-discrimination and anti-harassment policies

   and procedures at all times.

       a. Witnesses: Bob Jandovitz, Debbie Troche and Elizabeth Mendonca

       b. Exhibits: JX-9 (ASR Employee Handbook), JX-7 (Collective Bargaining

           Agreement), JX-10 (Code of Ethics and Business Conduct)

13. Plaintiff’s claims concerning acts that occurred prior to May 2012 are barred by the statute

   of limitations.

       a. Witnesses: Claude Lewis

       b. Exhibits: DX-1 (Plaintiff’s Complaint)

14. Plaintiff is not entitled to punitive damages.

       a. Witnesses: Claude Lewis, Bobsie Monroe, Elizabeth Mendonca, Debbie Troche,

           Bob Jandovitz, Adolph McBean, Ray Grossi, Sean Norwood, Kevin Parnell, and

           Mehandra Ramphal

       b. Exhibits: JX-9 (ASR Employee Handbook), JX-7 (Collective Bargaining

           Agreement), JX-10 (Code of Ethics and Business Conduct), JX-2 - JX-6; JX-14;

           JX-25; DX- 4-11; DX-68 (Notices of Violation, Disciplinary Notices), JX-12-JX-

           13; JX-20; DX-12-DX-29; DX-70-DX-71 (Grievances and Responses), DX-39 –

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15. Defendants acted with good faith in attempting to comply with applicable employment

   discrimination and other laws.



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         a. Witnesses: Claude Lewis, Bobsie Monroe, Elizabeth Mendonca, Debbie Troche,

             Bob Jandovitz, Adolph McBean, Ray Grossi, Sean Norwood, Kevin Parnell, and

             Mehandra Ramphal

         b. Exhibits: JX-9 (ASR Employee Handbook), JX-7 (Collective Bargaining

             Agreement), JX-10 (Code of Ethics and Business Conduct), JX-2 - JX-6; JX-14;

             JX-25; DX- 4-11; DX-68 (Notices of Violation, Disciplinary Notices), JX-12-JX-

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V.    ISSUES AND CLAIMS TO BE TRIED

      The parties contend the following issues and claims are to be tried:

             1. Whether Defendants subjected Plaintiff to discriminatory and disparate

                 treatment on the basis of his race and/or national origin in violation of Title VII

                 and the SHRL?

             2. Whether Plaintiff incurred any adverse employment action?

             3. Whether Defendants subjected Plaintiff to a hostile work environment on the

                 basis of his race and/or national origin in violation of Title VII and the SHRL?

             4. Whether Defendants have a legitimate, non-discriminatory, business reason for

                 their actions?

             5. Whether Defendants retaliated against Plaintiff on the basis of his alleged

                 complaints of discrimination in violation of Title VII and the SHRL?

             6. Whether Plaintiff reported any perceived claims of discrimination, harassment

                 and/or retaliation?




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   1. Deposition Transcripts of Plaintiff Claude Lewis, duly transcribed January 29, 2017 and
      March 1, 2016;
   2. Deposition transcript of Defendant Mehandra Ramphal, duly transcribed October 19, 2016;
   3. Deposition transcript of Deborah Lafaro, duly transcribed October 6, 2016;
   4. Deposition transcript of Elizabeth Mendonca, duly transcribed April 26, 2016;
   5. Deposition transcript of Adolph McBean taken in the matter of Rosanna Mayo-Coleman
      v. American Sugar Holding, Inc. et. al., Civil Action No.: 14-cv-0079-UA, duly transcribed
      September 30, 2015; and
   6. Deposition transcript of Robert Jandovitz taken in the matter of Rosanna Mayo-Coleman
      v. American Sugar Holding, Inc. et. al., Civil Action No.: 14-cv-0079-UA, duly transcribed
      August 17, 2016.

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S WITNESSES

   1. Fred Pannicia: Defendants object to the production of Mr. Pannicia as Mr. Pannicia was
      never identified as an individual with knowledge as to the allegations of this case, never
      identified by Plaintiff as a fact witness, and never identified as a potential trial witness in
      Plaintiff’s answers to interrogatories.
   2. Bob Jandovitz: Defendants object to the production of Mr. Jandovitz as a witness as he was
      never identified as an individual with knowledge as to the allegations of this case, never
      identified by Plaintiff as a fact witness, and never identified as a potential trial witness in
      Plaintiff’s answers to interrogatories.
   3. Adolph McBean: Defendants object to the production of Mr. McBean as a witness as he
      never identified as an individual with knowledge as to the allegations of this case, never
      identified by Plaintiff as a fact witness, and never identified as a potential trial witness in
      Plaintiff’s answers to interrogatories.
   4. Defendants object to Plaintiff reserving the right to call Defendants’ witnesses. The
      Federal Rules of Evidence permit a party to offer testimony in its case in chief, despite that
      testimony being impermissible in the opponent’s case in chief. Therefore, just because an
      witness may be properly offered in Defendants’ case, does not equate to that individual
      being properly offered in Plaintiff’s case in chief.

Defendants anticipate making an in limine motion regarding the above objections.

DEFENDANTS’ OBJECTIONS TO PLAINTIFFS’ DEPOSITION TESTIMONY

   1. Defendants object to Plaintiff’s designation of the deposition transcript of Plaintiff Claude
      Lewis as hearsay.
   2. Defendants object to Plaintiff’s designation of Mr. Ramphal, Ms. Troche (Lafaro), and Ms.
      Mendonca’s deposition transcript as Plaintiff has failed to indicate relevant page and line
      numbers for the deposition readings.
   3. Defendants object to the introduction of deposition transcripts of Adolph McBean and Bob
      Jandovitz from a different action than this litigation, including but not limited to the
      introduction of deposition testimony from the case captioned Mayo-Coleman v. American
      Sugar Holding, Inc., et. al, Civil Action No.: 14-cv-0079. Defendants object to the extent

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         that such deposition testimony is hearsay and because such deposition testimony was never
         produced in discovery.

Defendants anticipate making an in limine motion regarding the above objections.

X.       DEFENDANTS’ WITNESS LIST

Excepting rebuttal or impeachment, Defendants intend to call the following witnesses with regard
to liability and damages:

      1. Plaintiff Claude Lewis
      2. Mehandra Ramphal
      3. Elizabeth Mendonca
      4. Debbie Troche
      5. Bob Jandovitz
      6. Adolph McBean
      7. Ray Grossi
      8. Bobsie Monroe
      9. Sean Norwood
      10. Kevin Parnell
      11. Bruce Furick
      12. Karen L. Dahlman


XI.      RELIEF SOUGHT

         The Plaintiff seeks statutory costs, attorney’s fees, lost wages, and promotional

opportunities, front pay, and punitive damages in an amount to be determined at trial. Further,

Plaintiff seeks compensatory damages for lost wages and lost overtime wages. Further, Plaintiff

seeks non-pecuniary damages for emotional distress and mental anguish. Defendants seek a

judgment dismissing Plaintiff’s Amended Complaint and all claims set forth therein with

prejudice, and all other relief the Court deems just and proper, including reimbursement for cost

incurred in defending this action.




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Dated: New York, New York
       November 7, 2017




                                            _________________________________
                                            Honorable Claire R. Kelly, U.S.D.J.




  NESENOFF & MILTENBERG, LLP               BRESSLER, AMERY & ROSS, P.C
  Attorneys for Plaintiff                  Attorneys for Defendants



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  CHARNY & WHEELER


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                                      SCHEDULE B
            Admissible Exhibits Not Objected to in Proposed Joint Pretrial Order
   Exhibit No.   Description
   JX-1          July 18, 1997 Memorandum from Robert Jandovitz Re: Meeting with
                 Claude Lewis
   JX-2          June 29, 2012 Notice of Violation of Rules
   JX-3          January 3, 2013 Disciplinary Notice
   JX-4          March 6, 2013 Disciplinary Notice
   JX-5          October 14, 2013 Disciplinary Notice
   JX-7          January 1, 2011 Collective Bargaining Agreement
   JX-8          January 24, 2005 Collective Bargaining Agreement
   JX-9          ASR Employee Handbook
   JX-10         ASR Code of Ethics and Business Conduct (October 1, 2012)
   JX-11         ASR Plant Rules
   JX-12         March 17, 2013 Grievance
   JX-13         March 16, 2013 Grievance
   JX-14         January 5, 2016 Disciplinary Notice
   JX-15         Resume of Rhea Parsons
   JX-16         CV of Karen Dahlman
   JX-17         October 18, 2012 Job Change Application
   JX-18         April 15, 2013 Employee Status Notice
   JX-19         December 10, 2013 Employee Status Notice
   JX-20         May 11, 2009 Memorandum from Robert Jandovitz re: Grievance #01–09
   JX-21         February 26, 2009 Acknowledgment form for ASR Code of Ethics and
                 Business Conduct
   JX-22         February 1, 2013 Acknowledgment form for ASR Code of Ethics and
                 Business Conduct
   JX-23         March 3, 2016 Disciplinary Notice
   JX-24         March 14, 2013 EEOC Intake Questionnaire
   JX-25         Last Chance Agreement
   JX-26         February 24, 2016 Grievance
   JX-27         January 22, 2014 Charge of Discrimination
   JX-28         March 16, 2016 Employee Status Notice
   JX-29         November 28, 2011 Employee Status Notice
   JX-30         November 18, 2010 Employee Status Notice
   JX-31         June 27, 2011 Employee Status Notice
   JX-32         December 10, 2013 Employee Status Notice

   PX-8          February 7, 2014 Grievance Response
   PX-12         IME Report by Dr. Karen Dahlman
   PX-24         Defendants’ Answer to Plaintiff’s Amended Complaint
   PX-25         Defendants’ Response to Plaintiff’s First Set of Document Demands
   PX-26         Defendants’ Response to Plaintiff’s First Set of Interrogatories
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   Exhibit No.   Description
   DX-1          Complaint, March 27, 2014
   DX-2          Amended Complaint, September 30, 2014
   DX-30         Medical Records, October 21, 2014–October 30, 2016, 00104–00232,
                 Parson 2
   DX-32         July 10, 2015 Plaintiff’s Answers to Interrogatories
   DX-33         March 14, 2016 Plaintiff’s Supplemental Responses to Interrogatories
   DX-35         May 5, 2015 Plaintiff’s Initial Disclosures
   DX-36         July 10, 2015 Plaintiff’s Response to Defendants’ Notice to Produce
   DX-37         July 10, 2015 Plaintiff’s Responses to Requests for Admissions
   DX-50         October 19, 1990 Job Change Application
   DX-64         February 4, 2016 Disciplinary Notice
   DX-66         February 24, 2016 Grievance
   DX-67         March 28, 2016 Grievance Denial




                                     SCHEDULE C
                 Admissible Exhibit for Which an Objection Was Withdrawn
   Exhibit No.    Description
   PX-10          Email from David Arm to Bob Jandovitz, Dec. 3, 2013
                  AR000223




                                     SCHEDULE D
                 Admissible Exhibits for Which an Objection Was Overruled
   Exhibit No.   Description
   PX-6          Plaintiff’s Medical Records
                 P00104–232
   PX-9          Fax, November 11, 2013
                 ASR000218
   PX-11         Disciplinary Notice, Feb. 4, 2016
                 ASR000225–226
   PX-20         Grievance, Dec. 2, 2016
   DX-3          Job Change Application, Feb. 27, 1996
                 ASR000070, Lewis 4
   DX-6          January 17, 1991 Notice of Violation of Rules
   DX-11         October 28, 2005 Notice of Violation of Rules
   DX-13         Grievance, Feb. 1, 1991
                 ASR000074, Lewis 12
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   Exhibit No.   Description
   DX-14         Grievance Denial, Feb. 26, 1991
                 ASR000073, Lewis 12
   DX-15         Grievance, Oct. 23, 1991
                 ASR000072, Lewis 12
   DX-16         Grievance Denial, Nov. 13, 1991
                 ASR000071, Lewis 12
   DX-17         Grievance, Mar. 1, 2003
                 ASR000123, Lewis 12
   DX-18         Grievance Denial, Apr. 7, 2003
                 ASR000122, Lewis 12
   DX-19         Grievance, Mar. 1, 2003
                 ASR000121, Lewis 12
   DX-20         Grievance Denial, Apr. 7, 2003
                 ASR000120, Lewis 12
   DX-21         Grievance Denial Sustained, June 5, 2003
                 ASR000119, Lewis 12
   DX-22         Grievance and Approval, Feb. 24, 2004
                 ASR000116
   DX-23         Grievance Approved, Mar. 4, 2004
                 ASR000115, 117, Lewis 12
   DX-25         Grievance, Aug. 3, 2005
                 ASR000113, Lewis 12
   DX-26         Grievance Denial, Aug. 10, 2005
                 ASR000112, Lewis 12
   DX-27         Grievance, Dec. 5, 2005
                 ASR000111, Lewis 12
   DX-28         Grievance Denial, Feb. 10, 2006
                 ASR000110, Lewis 12
   DX-29         Union appeal of grievance and amendment of decision, Feb. 16, 2006 and
                 Aug. 23, 2006
                 ASR000109, 108, Lewis 12
   DX-38         Union Checkoff Authorization, Jan. 4, 1988
                 ASR000176
   DX-39         Truck Loader’s Inspection Sheet, November 15, 2013
                 ASR000188
   DX-40         Refused Bill of Lading, November 15, 2013
                 ASR000189
   DX-41         Vehicle Loading Record Detail, November 15, 2013
                 ASR000190
   DX-42         Truck Loader’s Inspection Sheet, October 9, 2013
                 ASR000191
   DX-43         Vehicle Loading Record Detail, October 9, 2013
                 ASR000192
   DX-44         Truck Loader’s Inspection Sheet, September 10, 2013
                 ASR000193
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   Exhibit No.   Description
   DX-45         Vehicle Loading Record Detail, September 10, 2013
                 ASR000194
   DX-46         Return Delivery Form, September 20, 2013
                 ASR000195–196
   DX-47         Vehicle Loading Record Detail, May 30, 2013
                 ASR000197
   DX-48         Truck Loader’s Inspection Sheet, May 31, 2013
                 ASR000198
   DX-49         Email Exchange between John DeQuatro, Lois Davis, Jeffrey Bogdan
                 regarding incorrect shipment, June 3, 2013
   DX-51         March 26, 1996 Report of Change in Personnel
   DX-52         September 2, 1997 Report of Change in Personnel
   DX-53         September 22, 1992 Report of Change in Personnel
   DX-54         December 10, 1992 Report of Change in Personnel
   DX-55         March 18, 1991 Report of Change in Personnel
   DX-56         January 21, 1991 Report of Change in Personnel
   DX-57         July 20, 1990 Report of Change in Personnel
   DX-58         July 17, 1990 Report of Change in Personnel
   DX-59         October 26, 1989 Report of Change in Personnel
   DX-60         March 7, 1989 Report of Change in Personnel
   DX-61         April 12, 1988 Report of Change in Personnel
   DX-62         April 8, 1988 Report of Hiring
   DX-63         March 29, 1988 Report of Change in Personnel




                                      SCHEDULE E
             Exhibits Inadmissible Unless and Until Plaintiff Can Authenticate
   Exhibit No.   Description
   PX-1          Grievance, December 22, 2008
                 Bates # P00001–02
   PX-2          Letter from Plaintiff, February 4, 2014
                 Bates # P00004–05
   PX-3          Signed Statement, March 22, 2014
                 P000037
   PX-4          Grievance, April 3, 2015
                 P00006–08
   PX-5          Grievance, January 9, 2016
   PX-7          Grievance, July 12, 2016
   PX-21         Grievance, Jan. 9, 2016
                 P00042
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                                     SCHEDULE F
                   Exhibits Admissible to Prove EEOC Complaint Filed
   Exhibit No.   Description
   PX-16         Plaintiff’s EEOC Consent, Dec. 5, 2013
                 ASR000217
   PX-17         Notice of Charge of Discrimination, Feb. 4, 2014
                 ASR000213
   PX-19         ASR FOIA Request and Response
                 ASR000203–222




                                     SCHEDULE G
                          Exhibits Marked for Identification Only
   Exhibit No.   Description
   PX-13         Plaintiff’s Declaration, Feb. 20, 2017
   PX-14         Gaffney Declaration, Feb. 20, 2017
   PX-27         Plaintiff’s Answers to Defendants’ Interrogatories, July 10, 2015
   PX-28         Plaintiff’s Supplemental Answers to Defendants’ Interrogatories, March
                 14, 2016
   PX-29         Plaintiff’s Initial Disclosures, May 5, 2015
   PX-30         Plaintiff’s Response to Defendants’ Notice to Produce, July 10, 2015
   PX-31         Plaintiff’s Response to Defendants’ Requests for Admissions, July 10,
                 2015
   DX-24         Grievance, Oct. 14, 2004
                 ASR000187, Lewis 12
   DX-31         Medical Expert Report of Dr. Karen Dahlman




                                     SCHEDULE H
                                   Inadmissible Exhibits
   Exhibit No.   Description
   PX-18         Pro Se Complaint, Mar. 27, 2014

   PX-23         Plaintiff’s Amended Complaint, September 30, 2014

   DX-4          July 12, 1988 Notice of Violation of Rules
   DX-5          August 18, 1990 Notice of Violation of Rules
   DX-7          September 27, 1994 Notice of Violation of Rules
   DX-8          August 1, 1997 Notice of Violation of Rules
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   Exhibit No.   Description
   DX-9          January 13, 1998 Notice of Violation of Rules
   DX-10         April 2, 2002 Notice of Violation of Rules
   DX-65         February 3, 2016 Email exchange among Plaintiff’s supervisors
                 documenting discipline for Plaintiff’s poor work performance
   DX-68         Disciplinary Letter, August 19, 1997




                                     SCHEDULE I
                                   Withdrawn Exhibits
   Exhibit No.   Description
   JX-6          Notices of Violation of Rules, August 18, 1990
   PX-15         Grievance Submitted by Rosanna Mayo-Coleman. May 4, 2012
   PX-22         Grievance, Jan. 9, 2016
   PX-32         Affidavit of Fred Paniccia, Nov. 26, 2016
   DX-12         December 22, 2008 Grievance
   DX-34         Email from Plaintiff’s Counsel, March 4, 2016
